Case 2:24-cr-00022-Z-BR Document 3 Filed 02/23/24 Page1lof3 PagelD7

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION
UNITED STATES OF AMERICA
Vv. No. 2:24-MJ-20

NICKOLAS O’BRIEN

NORTHERN DISTRICT OF TEXAS
FILED

U.S. DISTRICT COURT

FEB 23 2024

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MOTION FOR PRETRIAL DETENTION AND CONTINUANCE

The United States asks for the pretrial detention of Defendant under Title 18,

United States Code, Sections 3142(e) and 3142(f).

1. Eligibility of Case. This case is eligible for a detention order under

18 U.S.C. § 3142(f) because it is a case that involves:

A crime of violence as defined in 18 U.S.C. § 3156(a)(4), violation
of section 1591, or federal crime of terrorism for which the
maximum sentence is 10 years or more. (18 U.S.C. § 3142(f)(1)(A)).
An offense for which the maximum sentence is life imprisonment or

death. (18 U.S.C. § 3142(f)(1)(B)).

A Controlled Substances Act offense for which the maximum
sentence is 10 years or more. (18 U.S.C. § 3142((1)(C)).

A felony that was committed after the defendant had been convicted
of two or more prior federal offenses described in 18 U.S.C.

§ 3142(f)(1)(A)-(C), or comparable state or local offenses. (18

U.S.C. § 3142((1)(D)).

A felony that involves a minor victim or failure to register as a sex

offender. (18 U.S.C § 3142(f)(1)(E)).

X_A felony that involves the possession or use of a firearm, destructive
device, or any other dangerous weapon. (18 U.S.C § 3142(f(1)(E)).
A serious risk defendant will flee. (18 U.S.C. § 3142(f)(2)(A)).
A serious risk defendant will obstruct or attempt to obstruct justice,
or threaten, injure, or intimidate, or attempt to threaten, injure, or
intimidate a prospective witness or juror. (18 U.S.C. § 3142

(f)(2)(B)).

Motion for Pretrial Detention and Continuance — Page 1!
Case 2:24-cr-00022-Z-BR Document 3 Filed 02/23/24 Page 2of3 PagelD8

2. Reason for Detention. The Court should detain defendant, under 18 U.S.C.
§ 3142(e), because no condition or combination of conditions will
reasonably assure:

X__ Defendant’s appearance as required.
X_ Safety of any other person and the community.

3. Rebuttable Presumption. The United States will invoke the rebuttable
presumption against defendant under 18 U.S.C. § 3142(e). The
presumption applies because there is:

A Controlled Substances Act offense for which the maximum

sentence is 10 years or more. (18 U.S.C. § 3142(e)(3)(A)).

An offense under Title 18, United States Code, Sections 924(c),

956(a), or 2332b. (18 U.S.C. § 3142(e)(3)(B)).

A federal crime of terrorism for which the maximum sentence is 10
years or more. (18 U.S.C. § 3142(e)(3)(C)).
An offense in Chapter 77 of Title 18 (human trafficking) for which
the maximum sentence is 20 years or more. (18 U.S.C.
§ 3142(e)(3)(D))
Previous conviction for “eligible” offense committed while on
pretrial bond. (18 U.S.C. § 3142(e)(2)).
a qualifying offense involving a minor victim. (18 U.S.C.

§ 3142(e)(3)(E)).

4. Time for Detention Hearing. The United States requests the Court conduct
the detention hearing:

At first appearance.

__X__ After continuance of three days.
Moot at this time as defendant is in state [federal, administrative]
custody. Hearing requested if detention becomes a viable issue.

Motion for Pretrial Detention and Continuance — Page 2

Case 2:24-cr-00022-Z-BR Document 3 Filed 02/23/24 Page3of3 PagelD9

5. Eligibility for 10-Day Temporary Detention: The court may temporarily

detain the defendant to permit revocation of conditional release,
deportation, or exclusion because:

A. i) The defendant is, and was at the time the offense was committed:

on release pending trial for a felony under federal, state, or local

: law (18 U.S.C. § 3142(d)(1)(A)(@));

: on release pending imposition or execution of sentence, appeal of
sentence or conviction, or completion of sentence, for any offense
under federal, state, or local law (18 U.S.C. § 3142(d)(1)(A)(ii));
on probation or parole for any offense under federal, state, or local
law (18 U.S.C. § 3142(d)(1)(A)(iii)); or

il) The defendant is not a citizen of the United States or lawfully
admitted for permanent residence as defined at 8 U.S.C.
/ § 1101(a)(20) (18 U.S.C. § 3142(d)(1)(B));

B. And the defendant:

may flee; or
pose a danger to any other person or the community.

Respectfully submitted,

LEIGHA SIMONTON
UNITED STATES ATTORNEY

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ANNA MARIE BELL
Assistant United States Attorney

New Mexico State BarNo. 12501
500 South Taylor Street, Suite 300
Amarillo, Texas 79101-2446
Telephone: 806.324.2356
Facsimile: 806.324.2399
E-mail: anna.bell@usdoj.gov

Motion for Pretrial Detention and Continuance — Page 3

